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 9                    IN THE UNITED STATES DISTRICT COURT

10                  FOR THE EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,    )
12                                ) No. CR S-00-345 FCD
                   Plaintiff,     )
13                                ) STIPULATION RE:
              v.                  ) CONTINUANCE OF APPEARANCE
14                                ) ON SUPERVISED RELEASE
     RICHARD SHEARER,             ) VIOLATION PETITION
15                                )
                   Defendant.     )
16   _____________________________)

17       The United States of America, by its attorney, Benjamin B.

18   Wagner, Assistant United States Attorney, and defendant Richard

19   Shearer, through his attorney Oscar Stilley, hereby jointly

20   request and stipulate as follows:

21       1.   A sworn supervised release petition was filed in this case

22   on November 8, 2006, conferring jurisdiction on this Court to take

23   action on the petition, including revocation, regardless of the

24   ending date of the defendant's term of supervision.

25       2.   The parties request that the appearance on the supervised

26   release petition, currently scheduled for Monday, December 18,

27   2006, at 10 am, be continued five weeks until January 22, 2007, at

28   10:00 am.   The reason for the requested continuance is to

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 1   facilitate discussions between the IRS and attorney Stilley

 2   concerning defendant Shearer's compliance, and to allow the

 3   parties an opportunity to resolve the matter, which involves

 4   complex issues of fact and tax law.

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 6   SO STIPULATED AND AGREED:

 7       DATED: December 15, 2006             McGREGOR W. SCOTT
                                              United States Attorney
 8
                                             /S/ Benjamin Wagner
 9                                        By:___________________________
                                             BENJAMIN B. WAGNER
10                                           Assistant U. S. Attorney

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12                                             /S/ Oscar Stilley*
         DATED: December 15, 2006             _____________________________
13                                            OSCAR STILLEY
                                              Counsel for defendant Easely
14
                                      *signed by BBW, with Mr. Stilley's
15                                     permission, after being supplied to
                                       Mr. Stilley by fax
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         IT IS SO ORDERED:
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19
     DATED:__________                 ___________________________
20                                    HON. FRANK C. DAMRELL
                                      United States District Court Judge
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